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                  IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS
                            CENTRAL DIVISION

RICHARD GILLIAM                                                       PLAINTIFF
#209415

v.                          No: 4:19-cv-00593 PSH


JOHN STALEY, et al.                                                DEFENDANTS


                                  JUDGMENT

      Pursuant to the order filed this date, judgment is entered dismissing this case

with prejudice.

      DATED this 29th day of September, 2021.



                                      ___________________________________
                                      UNITED STATES MAGISTRATE JUDGE
